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2. During the period of community supervision, the defendant shall pay the special assessment in accordance with this
   judgment's orders pertaining to such payment.

3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

4. The defendant shall not commit any violation of local, state, or federal law or ordinance.

5. The defendant shall refrain from any unlawful use of any controlled substance. The defendant shall submit to one
   drug test within 15 days of placement on supervision and at least two periodic drug tests thereafter, not to exceed
   eight tests per month, as directed by the Probation Officer.

6. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
   urinalysis, breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from
   using illicit drugs and alcohol and abusing prescription medications during the period of supervision.

7. During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel,
   may place the defendant in a residential drug treatment program approved by the U.S. Probation and Pretrial
   Services Office for treatment of narcotic addiction or drug dependency, which may include counseling and testing,
   to determine if the defendant has reverted to the use of drugs. The defendant shall reside in the treatment program
   until discharged by the Program Director and Probation Officer.

8. The defendant shall participate in mental health treatment, which may include evaluation and counseling, until
   discharged from the program by the treatment provider, with the approval of the Probation Officer.

9. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment
   to the aftercare contractors during the period of community supervision. The defendant shall provide payment and
   proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall be
   required.

10. The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other areas under
    the defendant’s control, to a search conducted by a United States Probation Officer or law enforcement officer.
    Failure to submit to a search may be grounds for revocation. The defendant shall warn any other occupants that the
    premises may be subject to searches pursuant to this condition. Any search pursuant to this condition will be
    conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has
    violated a condition of his supervision and that the areas to be searched contain evidence of this violation.

11. The defendant shall comply with the immigration rules and regulations of the United States, and if deported from
    this country, either voluntarily or involuntarily, not reenter the United States illegally. The defendant is not required
    to report to the Probation Office while residing outside of the United States; however, within 72 hours of release
    from any custody or any reentry to the United States during the period of Court-ordered supervision, the defendant
    shall report for instructions to the United States Probation Office located at 411 West Fourth Street, Suite 4170,
    Santa Ana, California 92701.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further
redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing
judge.


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The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local           9.     The defendant must not knowingly associate with any persons
     crime;                                                                          engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a               by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                      family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                    review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by              protection of the community or rehabilitation;
     the court or probation officer;                                          10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district without            not purchase, possess, use, distribute, or administer any narcotic or
     first receiving the permission of the court or probation officer;               other controlled substance, or any paraphernalia related to such
5.   The defendant must answer truthfully the inquiries of the probation             substances, except as prescribed by a physician;
     officer, unless legitimately asserting his or her Fifth Amendment        11.    The defendant must notify the probation officer within 72 hours of
     right against self-incrimination as to new criminal conduct;                    being arrested or questioned by a law enforcement officer;
6.   The defendant must reside at a location approved by the probation        12.    For felony cases, the defendant must not possess a firearm,
     officer and must notify the probation officer at least 10 days before           ammunition, destructive device, or any other dangerous weapon;
     any anticipated change or within 72 hours of an unanticipated            13.    The defendant must not act or enter into any agreement with a law
     change in residence or persons living in defendant’s residence;                 enforcement agency to act as an informant or source without the
7.   The defendant must permit the probation officer to contact him or               permission of the court;
     her at any time at home or elsewhere and must permit confiscation        14.    The defendant must follow the instructions of the probation officer
     of any contraband prohibited by law or the terms of supervision and             to implement the orders of the court, afford adequate deterrence
     observed in plain view by the probation officer;                                from criminal conduct, protect the public from further crimes of the
8.   The defendant must work at a lawful occupation unless excused by                defendant; and provide the defendant with needed educational or
     the probation officer for schooling, training, or other acceptable              vocational training, medical care, or other correctional treatment in
     reasons and must notify the probation officer at least ten days before          the most effective manner.
     any change in employment or within 72 hours of an unanticipated
     change;




     The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to
 penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable for
 offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money order
 made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments must be
 delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:



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                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

         When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business or
trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance of
opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the new
account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s behalf.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.




                                                                      RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                       to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
           Date                                                      Deputy Marshal




                                                                  CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

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                                                                   Clerk, U.S. District Court


                                                             By
           Filed Date                                              Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                             Date




                      U. S. Probation Officer/Designated Witness                            Date




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